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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TIAWAN BRITTON,                       )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
vs.                                   )
                                      )       FILE No. _____________________
VISHAL RIVER SHOALS LLC,              )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, TIAWAN BRITTON, by and through the undersigned

counsel, and files this, his Complaint against Defendant VISHAL RIVER

SHOALS LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff TIAWAN BRITTON (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

      4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant VISHAL RIVER SHOALS LLC (hereinafter “Defendant”)

is a Georgia limited liability company that transacts business in the state of

Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: David A. Weissmann, 3495 Piedmont Road, Building 11,

Suite 950, Atlanta, Georgia, 30305.

                           FACTUAL ALLEGATIONS

      9.     On or about September 25, 2019 and March 30, 2021, Plaintiff was a


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customer at “Super Giant Mart,” a business located at 5658 Riverdale Road,

College Park, Georgia 30349.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The contiguous structures and

improvements situated upon said real property shall be referenced herein as the

“Facility,” and said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately 12 (twelve) miles from the Facility and

Property.

      12.    Plaintiff’s access to the businesses located at 5658 Riverdale Road,

College Park, Georgia 30349, Clayton County Property Appraiser’s parcel number

13088C A006, and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


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      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

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regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


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conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      30.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The first row1 of parking spaces on the Property has an

             accessible   parking    space       that   does    not    have   proper

             identification signage, in violation of section 502.6 of the 2010

             ADAAG standards.

      (ii)   The second row of parking spaces on the Property has three

             accessible   parking    spaces,      all   of     which   lack   proper

             identification signage, in violation of section 502.6 of the 2010

             ADAAG standards. One of the access aisles adjacent to these

             accessible parking spaces has a cart coral within its boundaries,

             in violation of sections 502.3 and 502.4 of the 2010 ADAAG

             standards. The other two access aisles in the second row of

1
  For descriptive purposes, the rows of parking spaces on the Property are referenced in
numerical order from South to North.

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        parking spaces have inadequate dimensions, also in violation of

        section 502.3 of the 2010 ADAAG standards. Further, one of

        these three access aisles has a pothole within its boundaries that

        is approximately 6” (six inches), in violation of section 502.4 of

        the 2010 ADAAG standards.

(iii)   The third row of parking spaces on the Property has an

        accessible   parking   space     that   does    not    have   proper

        identification signage, in violation of section 502.6 of the 2010

        ADAAG standards.

(iv)    The fourth row of parking spaces on the Property has three

        accessible   parking   spaces,    all   of     which   lack   proper

        identification signage, in violation of section 502.6 of the 2010

        ADAAG standards. Two of these accessible parking spaces

        share an adjacent access aisle that has a cart coral within its

        boundaries, in violation of sections 502.3 and 502.4 of the 2010

        ADAAG standards.

(v)     The fifth row of parking spaces on the Property has two

        accessible parking spaces, both of which lack proper

        identification signage, in violation of section 502.6 of the 2010


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       ADAAG standards. The two access aisles adjacent to these

       parking spaces each have inadequate dimensions, in violation of

       section 502.3 of the 2010 ADAAG standards. Further, the

       access aisles in this row of parking spaces do not properly

       adjoin an accessible route, in violation of section 502.3 of the

       2010 ADAAG standards.

(vi)   The sixth row of parking spaces on the Property has two

       accessible parking spaces, both of which lack proper

       identification signage, in violation of section 502.6 of the 2010

       ADAAG standards. The access aisle adjacent to these parking

       spaces has inadequate dimensions, in violation of section 502.3

       of the 2010 ADAAG standards. The accessible route from these

       spaces leads to a ramp (most proximate to the entrance of the

       Family Dollar portion of the Facility) that has a running slope

       exceeding 1:12 (one to twelve), in violation of section 405.2 of

       the 2010 ADAAG standards, and its side flares have slopes in

       excess of 1:10 (one to ten), in violation of section 406.3 of the

       2010 ADAAG standards. This ramp also has an excessive

       vertical rise at its base, in violation of section 405.7 of the 2010


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       ADAAG standards.

(vii) The seventh row of parking spaces on the Property has two

       accessible parking spaces, both of which lack proper

       identification signage, in violation of section 502.6 of the 2010

       ADAAG standards. The two access aisles adjacent to these

       parking spaces do not properly adjoin an accessible route, in

       violation of section 502.3 of the 2010 ADAAG standards.

(viii) The eighth row of parking spaces on the Property has two

       accessible parking spaces, both of which lack proper

       identification signage, in violation of section 502.6 of the 2010

       ADAAG standards. The accessible route from these accessible

       parking spaces to the entrance of the most proximate portion of

       the Facility (“Golden Crown”) has a 1” (one inch) vertical rise,

       in violation of section 403.2 of the 2010 ADAAG standards.

(ix)   The walking surfaces of the accessible route on the Property

       between Suite H and the Family Dollar portions of the Facility

       have a slope in excess of 1:20 (one to twenty), in violation of

       section 403.3 of the 2010 ADAAG standards.

(x)    The above-described accessible route between Suite H and the


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       Family Dollar portions of the Facility also has a total vertical

       rise greater than 6” (six inches), but does not have handrails

       complying with section 505 of the 2010 ADAAG standards, in

       violation of section 405.8 of the 2010 ADAAG standards.

(xi)   The walking surfaces of the accessible route on the Property

       between Family Dollar and Suite F portions of the Facility have

       a slope in excess of 1:20 (one to twenty), in violation of section

       403.3 of the 2010 ADAAG standards.

(xii) The above-described accessible route between the Family

       Dollar and Suite F portions of the Facility also has a total

       vertical rise greater than 6” (six inches), but does not have

       handrails complying with section 505 of the 2010 ADAAG

       standards, in violation of section 405.8 of the 2010 ADAAG

       standards.

(xiii) The walking surfaces of the accessible route on the Property

       between the Golden Crown and Papa John’s portions of the

       Facility have a slope in excess of 1:20 (one to twenty), in

       violation of section 403.3 of the 2010 ADAAG standards.

(xiv) The above-described accessible route between the Golden


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      Crown and Papa John’s portions of the Facility also has a total

      vertical rise greater than 6” (six inches), but does not have

      handrails complying with section 505 of the 2010 ADAAG

      standards, in violation of section 405.8 of the 2010 ADAAG

      standards.

(xv) There is an excessive vertical rise at the base of the accessible

      ramp on the Property most proximate to the Super Giant Mart

      portion of the Facility, in violation of sections 405.4 and 405.7

      of the 2010 ADAAG standards.

(xvi) The accessible ramp most proximate to the entrance of the Papa

      John’s portion of the Facility has a running slope exceeding

      1:12 (one to twelve), in violation of section 405.2 of the 2010

      ADAAG standards, and its side flares have slopes in excess of

      1:10 (one to ten), in violation of section 406.3 of the 2010

      ADAAG standards.

(b)   INTERIOR ELEMENTS:

(i)   The interior of the Super Giant Mart portion of the Facility

      lacks restrooms signage that complies with sections 216.8 and

      703 of the 2010 ADAAG standards.


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(ii)    The soap dispensers in the restrooms in the Super Giant Mart

        portion of the Facility are located outside the prescribed vertical

        reach ranges set forth in section 308.2.1 of the 2010 ADAAG

        standards.

(iii)   The controls on the faucets in the restrooms in the Super Giant

        Mart portion of the Facility require pinching and turning of the

        wrists, in violation of section 309.4 of the 2010 ADAAG

        standards.

(iv)    The restrooms in the Super Giant Mart portion of the Facility

        have sinks that do not provide for adequate knee and toe

        clearance thereunder, in violation of section 606.2 of the 2010

        ADAAG standards.

(v)     The urinals in the restroom in the Super Giant Mart portion of

        the Facility exceeds the maximum permissible height set forth

        in section 605.2 of the 2010 ADAAG standards.

(vi)    There is inadequate clear turning space in the accessible toilet

        stalls in the restrooms in the Super Giant Mart portion of the

        Facility, in violation of section 603.2.1 of the 2010 ADAAG

        standards.


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      (vii) There are ambulatory configuration toilet compartments in the

             restrooms of the Super Giant Mart portion of the Facility;

             however, there are no toilet compartments in said restrooms

             that are compliant with section 604.8.1 of the 2010 ADAAG

             standards, in violation of section 213.3.1 of the 2010 ADAAG

             standards.

      (viii) The accessible toilet stall doors in the restrooms in the Super

             Giant Mart portion of the Facility are not self-closing and/or

             otherwise violate section 604.8.2.2 of the 2010 ADAAG

             standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to travel upon the accessible routes on the

Property, and more difficult for Plaintiff to utilize all features of the restroom

inside the Super Giant Mart portion of the Facility.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property


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in violation of the ADA.

      34.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm


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unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;


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      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: April 27, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (404) 365-4460
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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